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IN RE: OIL SPILL by “Deepwater Horizon”

DIRECT FILING SHORT FORM’

Authorized by Order of the Court, Civil Action No. 10 md 2179 Rec. Doc. 982
(Copies of said Order having also been filed in Civil Actions No. 10-8888 and 10-2771)

JUDGE CARL. BARBIER

_ SECTION: J

By submitting this document, lam v asserting a claim | in 1 Complaint and Petition of Triton Asset Leasing GmbH, et
al, No. 10-2771; adopt and incorporate the Master Answer [Rec. Doc. 244] to the Complaint and Petition of Triton
Asset Leasing Gmbh, et al., in No. 10-2771; and/or intervene into, join and otherwise adopt the Master Complaint
[Rec. Doc. 879] for private economic losses (*B1 Bundle”) filed in MDL No. 2179 (10 md 2179); and/or intervene
into, join and otherwise adopt the Master Complaint [Rec. Doc. 881] for post-explosion injuries (“B3 Bundle”)
filed in MDL No. 2179 (10 md 2179).

Last Name First Name Middie Name/Maiden Suffix
Burris Jessica A.
Phone Number E-Mail Address
225-892-0155 - jab16_2001@hotmail.com
Address City / State / Zip
13735 Kenner Ave., Apartment D Baton Rouge, LA 70810
INDIVIDUAL CLAIM BUSINESS CLAIM QD
Employer Name Business Name
| Beausoleii Restaurant and Bar, LLC -
Job Title / Description Type of Business
Server at Beausoleil Restaurant and Bar, LLG
Address Address
7731 Jefferson Highway
City / State / Zip City / State / Zip
Baton Rouge, LA 70809
Last 4 digits of your Social Security Number Last 4 digits of your Tax 1D Number
4387
Atlorney Name Firm Name .
Ravi K. Sanglsetty Sangisetty Law Firm
Address City / State / Zip
610 Baronne St. New Orleans, LA 70413
Phone Number E-Mail Address
504-558-9478 rks@sangisettylaw.cam
Claim filed with BP? YES oO NO Claim Filed with GCCF?: YES No OJ
If yes, BP Claim No.: If yes, Claimant Identification No.: 03340964

Ceara ee ee ee ee ee ee
Giaim Type (Please check all that apply):

_| Damage or destruction to real or personal property Fear of Future Injury and/or Medical Monitoring
Earnings/Profit Loss Loss of Subsistence use of Natural Resources
| Personal Injury/Death Removal and/or clean-up costs

Other:

1 This form should be filed with the U.S. District Court for the Eastern District of Louisiana, 500 Poydras Street, New Orleans, Loulsiana 70130, in Civil Action No.
40-8888, While this Direct Filing Short Form Is to be filed In CA No. 10-8888, by prior order af the Court, (Rec. Doc. 246, CA. No. 10-2771 and Rec. Doc, 982 in MDL
2179}, the filing of this form In C.A. No. 10-8888 shall be deemed to be simultaneously filed in C.A. 10-2771 and MDL 2179. Plaintiff Liaison Counsel, after being
notified electronically by the Clerk of Court of the filing of this Short Form, shall promptly serve this form through the Lexis Nexis service system on Defense Liaison.

The filing of this Direct Filing Short Form shall also serve in lieu of the requirement of a Plaintiff to file a Plaintiff Profile Form,

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de ee ee ee aa
Brief Description:

1. For earnings/profit loss, property damage and loss of subsistence use claims, describe the nature of the injury. For claims
involving real estate/property, include the property location, type of property (residentialfcommercial}, and whether physical
damage occurred. For claims relating to fishing of any type, include the type and location of fishing grounds at issue.

When the Deepwater Horizon explosion and oil spill occurred on or about April 20, 2010, Ms.

Jessica Biirris worked as a server at Galatoire’s Bistro in Baton Rouge, Louisiana. Galatoire’s

Bistro is a fine dining French Creole restaurant that specializes in Louisiana seafood. As a

resuit of the Deepwater Horizon explosion and oil spill, tourism declined in Baton Rouge and

customer traffic at_Galatoire's Bistro dropped. Public health.concerns_about seafood caughtin_
oil-tainted waters also harmed business at Galatoire's Bistro. Ms. Burris's workload was cut

because-of-the-drop-in-business.-She-also.experienced-a-reduction.in-tips-due-to-the-loss-of-——
customers. Her earnings/profit loss is attributed to the Deepwater Horizon explosion and oil spill
that-occurred-on-orabout-April-20-2010:

2. For personal injury claims, describe the injury, how and when it was sustained, and identify all health care providers and
employers 2008 to present and complete authorization forms for each.

3. For post-explosion claims related to clean-up or removal, include your role in the clean-up activities, the name of your
employer, and where you were working.

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Please check the box(es) below that you think apply to you and your claims:

Non-governmental Economic Loss and Property Damage Claims (Bundle B1)}

CJ 1. Commercial fisherman, shrimper, crabber, or oysterman, or the owner and operator of a business involving fishing, shrimping,
crabbing or oystering.

2. Seafood processor, distributor, retail and seafood market, or restaurant owner and operator, or an employee thereof.

(1 3. Recreational business owner, operator or worker, including a recreational fishing business, commercial guide service, or charter
fishing business who earn their living through the use of the Gulf of Mexico.

C4] 4. Commercial business, business owner, operator or worker, including commercial divers, offshore oilfield service, repair and
supply, real estate agents, and supply companies, or an employee thereof.

(J &. Recreational sport fishermen, recreational diver, beachgoer, or recreational boater.
Oo 6. Plant and dock worker, including commercial seafood plant worker, Jongshoraman, or ferry operator.

CL] 7 Owner, lessor, or lessee of real property alleged to be damaged, harmed or impacted, physically or economically, including
lessees of oyster beds.

TU 8. Hotel owner and operator, vacation rental ovmer and agent, or all those who earn their living from the tourism industry.
oO 9. Bank, financial institution, or retail business that suffered losses as a result of the spill.
[1 10. Person who utilizes natural resources for subsistence.

Cl 14. Other:

Post-Explosion Personal Injury, Medical Monitoring, and Property Damage Related to Cleanup (Bundie B3
Ol 1. Beat captain or crew involved in the Vessels of Opportunity program.
[] 2. Worker involved in decontaminating vessels that came into contact with oil and/or chemical dispersants.

[CJ 3. Vessel captain or crew who was not involved in the Vessels of Opportunity program but who were exposed to harmful chemicals,
odors and emissions during post-explosion clean-up activities,

q 4. Clean-up worker or beach personnel involved in clean-up activities along shorelines and intercoasial and intertidal zones.
j 5. —_- Resident who lives ar works In close proximity to coastal waters.

LC] 6. Other:

Both BP and the Gulf Coast Claims Facility (‘GCCF”) are hereby authorized to release to the Defendants in MDL
2179 all information and documents submitted by above-named Plaintiff and information regarding the status of any
payment on the claim, subject to such information being treated as “Confidential Access Restricted” under the Order
Protecting Confidentiality (Pre-Trial Order,No. 11), and subject to full copies of same being made available to both
the Plaintiff (or his attorney if applicable) fling this form and PSC through Plaintiff Liaison Counsel.

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Claimant or Attorney Signature

Ravi K. Sangisetty

Print Name

April 19, 2091
Date

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The filing of this Direct Filing Short Form shail also serve in leu of the requirement of a Plaintiff to file a Plaintiff Profile Form.

